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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

NOAH P. REED :
Plaintiff, :
: No.  3:17-CV-2052

¥. “4
TROOPER RONALD MERCATILL et al.,
Defendants.
STIPULATION OF VOLUNATRY DISMISSAL
This matter having been settled, the parties, by and through their undersigned counsel,
hereby stipulate pursuant to F.R.C.P. 41(a)(1)(A)Gi), that all claims asserted against All
Defendants are hereby dismissed, with prejudice.

Ni retain jurisdiction for ninety (90) days.

  

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Joshy4 #. Karoly, Esquir Andrew M. Rongaus, Esquire
$27 ilt Pennsylvania State Police
Apentown, PA 18101 Office of Chief Counsel.

Attomey for Plaintiff 1800 Elmerton Avenue.
Harrisburg, PA 17110
Attorney for Defendants

 

Date: OS -\15-2018

 

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